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                        UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                              Criminal No. 07-174 (JRT/JJG)

                                  Plaintiff,
                                                   MEMORANDUM OPINION AND
v.                                                 ORDER DENYING MOTION TO
                                                     VACATE, SET ASIDE, OR
(1) ANTWOYN TERRELL SPENCER                           CORRECT SENTENCE
     and
(2) DERRICK JEROME SPENCER,

                              Defendants.


       Jeffrey S. Paulsen, Assistant United States Attorney, OFFICE OF THE
       UNITED STATES ATTORNEY, 600 United States Courthouse, 300
       South Fourth Street, Minneapolis, MN 55415, for plaintiff.

       Antwoyn Terrell Spencer, #14781-041, USP – FCI Greenville, P.O. Box
       5000, Greenville, IL 62246, defendant pro se.

       Derrick Jerome Spencer, #14779-041, USP - FCI Milan, P.O. Box 1000,
       Milan, MI 58160, defendant pro se.



       Antwoyn Spencer and Derrick Spencer were found guilty by a jury the crimes of

conspiracy and possession with intent to distribute cocaine. They were sentenced to

prison terms in accordance with the applicable for their crimes. They seek habeas relief

contending they were deprived of constitutionally effective assistance of trial counsel and

of appellate counsel. Since ineffective assistance of counsel was raised on direct appeal,

the Court finds the Spencers are not entitled to habeas relief.



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                                     BACKGROUND

       On September 18, 2007, a jury found defendant Antwoyn Spencer guilty of one

count of conspiring to distribute cocaine and crack cocaine (and that the amount was over

5 kilograms of powder cocaine and 50 grams of crack cocaine), one count of attempted

possession with intent to distribute cocaine, and one count of money laundering. See 21

U.S.C. §§ 841(a)(1), 846, 841(b)(1)(A); 18 U.S.C. §§ 2, 1956(a)(1)(B)(i), (2). The jury

acquitted Antwoyn Spencer of two additional counts of money laundering. See 18 U.S.C.

§ 1956(a)(1)(B)(i), 2. He was subsequently sentenced to 324 months on the two counts

of conspiracy and attempted possession with intent to distribute, and 240 months on the

money laundering count to be served concurrently. 1

       On September 18, 2007, a jury found defendant Derrick Spencer guilty of one

count of conspiring to distribute cocaine and crack cocaine (and that the amount was over

5 kilograms of powder cocaine and 50 grams of crack cocaine), and two counts of the

crime of distribution of cocaine. See 21 U.S.C. §§ 841(a)(1), 846, 841(b)(1)(A). The

jury acquitted Derrick Spencer of one additional count of the crime of distribution of

cocaine and one count of attempted possession with intent to distribute cocaine. . See 18




       1
          Recitation of the facts of this case are available both in this Court’s denial of the
Spencers’ motions for new trial or for acquittal, United States v. Spencer, Crim. No. 07-174,
2008 WL 4104693, at *2 (D. Minn. Aug. 29, 2008), and in the Eighth Circuit’s affirmation of
that order, United States v. Spencer, 592 F.3d 866 (8th Cir. 2010).




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U.S.C. §§ 2, 1956(a)(1)(B)(i), (2). He was sentenced to 292 months on the conspiracy

count and 240 months on the distribution counts to be served concurrently.

       The Eighth Circuit confirmed both convictions on direct appeal. United States v.

Spencer, 592 F.3d 866 (8th Cir. 2010). On April 23, 2010, Antwoyn Spencer filed the

instant motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255,

and on May 17, 2010 Derrick Spencer filed the exact same motion.2


                                            ANALYSIS

I.     STANDARD OF REVIEW

       Section 2255 of Title 28 provides persons in federal custody a limited opportunity

to collaterally attack the constitutionality or legality of the sentence and conviction


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          The Spencers have filed several other motions related to their habeas motions.
Antwoyn Spencer’s motion for summary judgment is rendered moot by this order. Antwoyn
Spencer also filed several motions to expedite the proceedings. Given that the Spencers filed
their motions in March and May of 2010, the government responded by June 2010, and the Court
is now issuing an order on the petition, the Court finds that petitioner’s motions are without merit
and the time needed to process the motions was not excessive. See, e.g., Johnson v. Rogers, 917
F.2d 1283, 1285 (10th Cir. 1990) (explaining situations in which delays in addressing habeas
petitions are unavoidable). Antwoyn Spencer also filed a motion to set a date to reply to the
government’s motion, which this Court interprets as a motion to expedite. Finally, Derrick
Spencer filed a motion to find the government in default since a different attorney filed the
government’s response than who he had expected and it was filed four days after the deadline
established by the Court. The Court denies this motion as a change in attorneys and the short
time delay in the response did not prejudice petitioner nor cause undue delay in the Court in
responding to his habeas petition. Further, the Court finds that an evidentiary hearing on these
motions is unnecessary because “the motion[s] and the files and records of the case conclusively
show that [the Spencers are] entitled to no relief.” 28 U.S.C. § 2255(b). As set forth below, all
of the Spencers’ allegations either are (1) insufficient to entitle them to relief, even if accepted as
true; or (2) contradicted by the record, inherently incredible, or conclusions rather than
statements of fact. United States v. Regenos, 405 F.3d 691, 694 (8th Cir. 2005) (citing Engelen
v. United States, 68 F.3d 238, 240 (8th Cir. 1995)).




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prescribed by the Court. See United States v. Addonizio, 442 U.S. 178, 185 (1979);

Embrey v. Hershberger, 131 F.3d 739, 740 (8th Cir. 1997). “Relief under 28 U.S.C.

§ 2255 is reserved for transgressions of constitutional rights and for a narrow range of

injuries that could not have been raised on direct appeal and, if uncorrected, would result

in a complete miscarriage of justice.” United States v. Apfel, 97 F .3d 1074, 1076 (8th

Cir. 1996).


II.    INEFFECTIVE ASSISTANCE OF COUNSEL

       The Spencers first assert that they did not have effective assistance of counsel at

the trial court because trial counsel (1) failed to challenge the sufficiency of the evidence

to support a conviction on each of the counts for which they were convicted, (2) failed to

object to Jury Instruction Number 20, (3) failed to object to Jury Instruction Number 21,

(4) failed to object to the statement by the counsel of a co-defendant that each was

“hiding behind the Fifth Amendment,” and (5) failed to object to the sufficiency of the

evidence of the drug quantities involved. Each of these alleged deficiencies in the trial

proceedings, however, was raised during the Spencers’ motions for a new trial and during

their appeal to the Eighth Circuit. Spencer, 2008 WL 4104693, at *2. The Spencers have

now recast the same issues as ineffective assistance of counsel claims in an attempt to

avail themselves of the remedies of § 2255.              The Court does not find this

recharacterization of claims automatically places them within the “narrow range of




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injuries that could not have been raised on direct appeal,” and further, since the issues

were raised in the appeals, the record belies the claims.

       Furthermore, “[a] defendant claiming ineffective assistance of counsel must show

(1) that counsel’s representation fell below an objective standard of reasonableness, and

(2) that counsel’s deficient performance prejudiced the defendant.”        Keys v. United

States, 545 F.3d 644, 646 (8th Cir. 2008) (internal quotation marks omitted). “There is a

strong presumption that counsel’s conduct falls within the wide range of reasonable

professional assistance.”   United States v. Rice, 449 F.3d 887, 897 (8th Cir. 2006)

(internal quotation marks omitted). “To overcome that presumption, a defendant must

show that there is a reasonable probability that, but for counsel’s unprofessional errors,

the result of the proceeding would have been different[;] a reasonable probability

meaning a probability sufficient to undermine confidence in the outcome.” Id. (internal

quotation marks omitted).

       Here, where the Spencers’ claims were substantively addressed by both the trial

court in the motion for a new trial and by the Eighth Circuit in the appeal, the Court finds

that the Spencers cannot make an affirmative showing that “counsel’s deficient

performance prejudiced” them. If prejudice on the underlying issues existed, so as to

“undermine confidence in the outcome,” the trial court would have granted a new trial or

the Eighth Circuit would have overturned the denial of same. Since the trial court and the

Eighth Circuit determined that the errors did not warrant a new trial, counsel’s actions at

trial addressing those errors cannot be said to have prejudiced the defendants’ under the



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higher standard set out by Strickland v. Washington. 466 U.S. 668, 687 (1984) (“[The

standard for ineffective assistance of counsel] requires showing that counsel’s errors were

so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.”).


III.   INEFFECTIVE ASSISTANCE OF APPELLATE COUNSEL

       The Spencers further argue that their appellate counsel was ineffective because of

failures to challenge the factual information in the presentence recommendation and raise

challenges under Rule 32 of the Rules of Criminal Procedure based on the drug quantity.

However, on appeal, the Eighth Circuit specifically addressed the factual information in

each of the convictions including the drug quantity. Spencer, 592 F.3d at 881-82 (“In its

written statement of reasons for imposing sentences for both Antwoyn and Derrick, the

district court noted that it overruled their challenges to the drug-quantity calculations. . . .

The district court’s careful determinations were not clearly erroneous.” (internal

quotation marks omitted)). Since appellate counsel raised the issue, and the Eighth

Circuit determined there was no error, the Spencers’ ineffective assistance of counsel

claims similarly fail.


IV.    CERTIFICATE OF APPEALABILITY

       The Court may grant a certificate of appealability only where a petitioner has

made a substantial showing of the denial of a constitutional right. See 28 U.S.C.

§ 2253(c)(2); Copeland v. Washington, 232 F.3d 969 (8th Cir. 2000). To make such a

showing, the issues must be debatable among reasonable jurists, a court must be able to



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resolve the issues differently, or the case must deserve further proceedings. See Flieger

v. Delo, 16 F.3d 878, 882-83 (8th Cir. 1994). The Court finds that it is unlikely that

another court would decide the issues raised in these § 2255 motions differently. For this

reason, the Court concludes that the Spencers have failed to make the required substantial

showing of the denial of a constitutional right, and the Court denies a certificate of

appealability.


                                           ORDER

       Based on the foregoing, all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

       1.        Antwoyn Spencer’s motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. § 2255 [Docket No. 338] is DENIED.

       2.        Derrick Spencer’s motion to vacate, set aside, or correct sentence pursuant

to 28 U.S.C. § 2255 [Docket No. 341] is DENIED.

       3.        Antwoyn Spencer’s motions for an evidentiary hearing pursuant to 28

U.S.C. § 2255 [Docket Nos. 357 and 360] are DENIED.

       4.        Antwoyn Spencer’s request for a status update [Docket No. 354] is

DENIED as moot.

       5.        Antwoyn Spencer’s motions to expedite [Docket Nos. 358 and 359] are

DENIED as moot.




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      6.     Antwoyn Spencer’s motion to set a time for filing a reply to the

government’s response [Docket No. 362] is DENIED as moot.

      7.     Antwoyn Spencer’s motion for summary judgment [Docket No. 355] is

DENIED.

      8.     Derrick Spencer’s motion for default judgment against the government

[Docket No. 353] is DENIED.


      IT IS FURTHER HEREBY ORDERED that:

      9.     The Court does not certify for appeal under 28 U.S.C. § 2253(c)(1)(B) the

issues raised in defendants’ motions.


DATED: April 15, 2011                          ____s/                     ____
at Minneapolis, Minnesota.                          JOHN R. TUNHEIM
                                                 United States District Judge




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